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     [Additional Counsel on Signature Page]                           D IS T IC
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 9                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11
      ALEXANDER GORSLINE, Individually and
12    On Behalf of All Others Similarly Situated,     CASE NO.: 4:23-cv-01827-YGR
13                            Plaintiff,              NOTICE OF VOLUNTARY DISMISSAL
14                   v.
15    NUTANIX, INC., RAJIV RAMASWAMI,
      DUSTON WILLIAMS, and RUKMINI
16    SIVARAMAN,
17                            Defendants.
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            Case 4:23-cv-01827-YGR            Document 50        Filed 11/20/23   Page 2 of 2




 1   TO: ALL PARTIES AND THEIR COUNSEL OF RECORD

 2          WHEREAS, no defendant in the above-captioned action Gorsline v. Nutanix, Inc., et al.,

 3   No. 4:23-cv-01827 (N.D. Cal.), brought before the United States District Court for the Northern

 4   District of California, has served an answer or motion for summary judgment;

 5          NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure

 6   41(a)(1)(A), plaintiff Alexander Gorsline hereby i) voluntarily dismisses his individual claims in

 7   the above-captioned action, with prejudice, as to all defendants and ii) voluntarily dismisses the

 8   putative class claims, without prejudice, as to all defendants.

 9    Dated: November 8, 2023                       Respectfully submitted,
10                                                  POMERANTZ LLP
11                                                  /s/ Murielle J. Steven Walsh
                                                    Murielle J. Steven Walsh (admitted pro hac vice)
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                                                    Attorneys for Plaintiff
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